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                             United States District Court
                                       for the
                             Southern District of Florida

  State Farm Mutual Automobile )
  Insurance Company and State Farm )
  Fire & Casualty Company, Plaintiff, )
                                      )
  v.                                  ) Civil Action No. 18-23125-Civ-Scola
                                      )
  Health and Wellness Services, Inc.  )
  and others, Defendants.             )
           Order Adopting Magistrate’s Report and Recommendation
         United States Magistrate Judge Edwin G. Torres entered a report and
  recommendation (ECF No. 379), granting the Plaintiffs’ motion to tax costs (ECF
  No. 372) in the full amount requested. None of the Defendants ever responded to
  the motion and no objections to Judge Torres’s report and recommendation have
  been filed. The time to object has passed. Judge Torres, in noting the Plaintiffs’
  motion could be granted based on the lack of any opposition, also reviewed the
  substance of the motion and concludes the Plaintiffs are entitled to the taxable
  costs they seek as provided for under 29 U.S.C. § 1920. Additionally, Judge
  Torres recommends that the cost award be apportioned among the Defendants
  based on the amounts allocated to them in the final judgment (ECF No. 374).
  Having considered—de novo—Judge Torres’s report, the record, and the relevant
  legal authorities, the Court finds Judge Torres’s report and recommendation
  cogent and compelling.
         The Court affirms and adopts Judge Torres’s report and recommendation
  (ECF No. 379) and grants the Plaintiffs’ motion (ECF No. 372). Consistent with
  the report, the Court awards $63,207.92 in taxable costs to the Plaintiffs,
  allocated among the Defendants in proportion to the fraction of the total damage
  award, including the declaratory judgment, each is liable for.
        Done and ordered at Miami, Florida on October 29, 2020.


                                             _______________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
